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IN THE UNITE]) STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

CYRUS HOWE,

Plaintiff,
v.

CRESTWOOD MANAGEMENT LLC,

Defendant.

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Hon.

Plaintiff’s Verif"led Complaint and
Demand for Jury TrialJ SL.)M)MD 7

PLAINTIFF’S VERIFIED COMPLAINT AND DEMAND' FOR JURY TRIAL

COMES NOW the Plaintiff, CYRUS HOWE (“Plaintiff”), by and through his attorneys,

KROHN & MOSS, LTD., and for Plaintiff’s Complaint against Defendant, CRESTWOOD

MANAGEMENT, LLC (“Defendant”), alleges and affirmatively states as follows:

INTRODUCTION

l. Plaintiff’ s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692

et seq. (FDCPA).

PLAINTIFF’S VERIF[ED COMPLAINT

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JURISDICTION AND VENUE

2. Jurisdiction of this court arises pursuant to 15 US.C. 1692k(d), Which states that such
actions may be brought and heard before “any appropriate United States district court
without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court
supplemental jurisdiction over the state claims contained therein.

3. Because Defendant conducts business in Ohio, personal jurisdiction is established.

4. Venue is proper pursuant to 28 U.S.C. 1391(1))(1).

PARTIES

5. Plaintiff is a natural person who currently resides in Honolulu, Hawaii and is allegedly
obligated to pay a debt, and Plaintiff is a “consumer” as that term is defined by 15 U.S.C.
1692a(3).

6. Pursuant to the definitions outlined in 15 U.S.C. 16920(1-6) , Defendant is a debt
collector and sought to collect a consumer debt from Plaintiff which was allegedly due
and owing from Plaintiff, and Plaintiff is a consumer debtor.

7. Defendant is a debt collector with an office in Beachwood, Cuyahoga County, Ohio.

8. Defendant uses instrumentalities of interstate commerce or the mails in any business the
principal purpose of which is the collection of any debts, or who regularly collects or
attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or
due another and is a "debt collector" as that term is defined by 15 US.C. § 1692a(6).

9. Defendant is a collection agency that in the ordinary course of business, regularly, on

behalf of itself or others, engages in debt collection.

PLAINTIFF’S VERIFIED COMPLAINT

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FACTUAL ALLEGATIONS

10. Defendant is collecting from Plaintiff on an alleged debt owed to Helio Wireless Phone
Service.

ll. Since September of 2010, Defendant places collection calls to Plaintiff’s cell phone from
301-223-0050.

12. The area code on Plaintiff" s cell phone is for a region located in the Pacific time Zone.

13. Defendant placed collection calls to Plaintiff on September 29, 2010 at 5:l7 a.m., on
October 20, 2010 at 7:07 a.m., on October 21, 2010 at 7:47 a.m., on October 22, 2010 at
6:44 a.m., on October 23, 2010 at 6:31 a.m., on December 17, 2010 at '7:01 a.m., on
December 23, 2010 at 7:05 a.m., and on December 31, 2010 at 7:24 a.m.

14. On December 16, 2010, Plaintiff mailed a cease and desist letter to Defendant. See letter
attached as EXhibit “A.”

15 . Defendant placed collection calls to Plaintiff on December 17, 22, 23, and 31, 2010 in
spite of the cease and desist letter.

COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

16. Defendant violated the FDCPA based on the following:
a. Defendant violated §16920(0)(1) of the FDCPA by communicating with Plaintiff
at a time known or which should be known to be inconvenient
b. Defendant violated §16920(c) of the FDCPA by continuing to communicate with
Plaintiff after notified in writing that Plaintiff refuses to pay debt and that

Plaintiff wishes the debt collector to cease further communication.

PLA]NTIFF’S VERIFIED COMPLAINT

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c. Defendant violated §1692d of the FDCPA by engaging in conduct the natural
consequence of which is to harass, oppress, or abuse the Plaintiff in connection
with the collection of a debt.

d. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring and
engaging Plaintiff is telephone conversations repeatedly and continuously with
the intent to annoy, abuse, and harass Plaintiff.

WHEREFORE, Plaintiff respectfully prays that judgment be entered against the
Defendant for the following:

18. Statutory damages of $1000.00, pursuant to the FDCPA, 15 U.S.C. 1692k.

19. Costs and reasonable attorney’s fees pursuant to the FDCPA, 15 U.S.C. l692k.

20. Any other relief that this court deems to be just and proper.

RESPECTFULLY SUBMIT ED,

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Leslie K. lczkovitz, Esq.
Attorney for Plaintiff

 

 

DEMAND FOR JURY TRIAL
PLEASE TAKE NOTICE that Plaintiff, CYRUS HOWE, hereby demands trial by jury

in this action.

PLA]NTIFF’S VERIFIED COMPLAINT

